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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
MANNA KADAR BEAUTY, INC.,
                                                                     CASE NUMBER

                                                                       8:21-cv-00595-JLS-ADS
                                                     Plaintiff(s),
                        v.
EVANSTON INSURANCE COMPANY;     MARKEL
SERVICE, INC.; and MARKEL CORPORATION,                                     NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    G This action is dismissed by the Plaintiff(s) in its entirety.

    G The Counterclaim brought by Claimant(s)                                                                              is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                              is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                         is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s) Markel Service, Inc. and Markel Corporation

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by Plaintiff Manna Kadar Beauty, Inc.                                                                    .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




          5/7/2021
                 Date                                                 Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)           NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
